               Case 4:14-cr-00114-DPM               Document 276             Filed 12/11/14        Page 1 of 1

/2/12)                                                                                                FILED
                                                                                                   U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT ARKANSA~

                                     IN THE UNITED STATES DISTRICT COURT  DEC 11 20l·t
                                        EASTERN DISTRICT OF ARKANSAS JAMES~
                                              WESTERNDIVISION         By: ~

          UNITED STATES OF AMERICA                                                                      PLAINTIFF

                  vs.                             NO. 2\: 14CR00114-09 DPM

           BRANDY WAYNETT CLARK                                                                      DEFENDANT


                                W AIYER OF APPEARANCE FOR ARRAIGNMENT
                                    AND ENTRY OF PLEA OF NOT GlllLTY
                         (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                  NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
          hereby acknowledges the following:

          I)     Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                 information in this case. Defendant understands the nature and substance of the charges contained
                 therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                 advised of all of the above by his/her attorney.

         2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                 for aJ.Taignment in open comt on this accusation. Defendant further widerstands that, absent the
                 present waiver, he/she will be so arraigned in open cou1t.

         Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
         his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
         inf01mation, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
         the Comt of said plea for defendant will conclude the arraignment in this case for all pm-poses.



                 Date

                   If /-i~/f/
                 DatJ




                  The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                  plea of not guilty is entered for the defendant effective this date.

                  The defendant's request to waive appeara.ncn~ent is:ereby DENIED.

                   l Z- \ \. l4=--                         l'-~-----~--------
                  Date                                     'JUdiCi810ffiCe


         cc:     All Counsel of Record
                 U.S. Probation Office
                 U.S. Marshals Service
                 Presiding Magistrate Judge
